                             IN THE UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF IOWA
                                       WESTERN DIVISION

MARLIN HERBST,                                                )
                                                              )       Case No. 5:17-cv-04008-MWB
                             Plaintiff,                       )
                                                              )       PLAINTIFF’S STATEMENT OF
v.                                                            )       ADDITIONAL MATERIAL FACTS
                                                              )       IN SUPPORT OF PLAINTIFF’S
BUSH BOAKE ALLEN INC., et al.                                 )       RESISTANCE TO DEFENDANT
                                                              )       EMORAL INC., F/K/A
                             Defendants.                      )       POLAROME INTERNATIONAL,
                                                              )       INC.’S MOTION FOR SUMMARY
                                                              )       JUDGMENT




           Pursuant to L.R. 56 (b)(3), Plaintiff submits his Statement of Additional Material Facts in

conjunction with Plaintiff’s Resistance to Defendant Emoral Inc., f/k/a Polarome International

Inc.’s 1 Motion for Summary Judgment (Doc. 144):

                              American Popcorn and Plaintiff Marlin Herbst

           1.       American Popcorn is located at One Fun Place, Sioux City, Iowa and makes the

Jolly Time brand microwave popcorn using butter flavoring (Exh. 1, App. 0005-0006, 12/1/05

Deposition of Dale Hartshorn, pp. 153:21-23; 154:6-13).

           2.       American Popcorn thought it was making food, and that it was safe (Exh. 1, App.

0006-0007, 12/1/05 Deposition of Dale Hartshorn, pp. 154:14-155:4).

           3.       Plaintiff Marlin Herbst worked at the American Popcorn plant from 1978 through

1993. (See Emoral’s Appendix at 059-060; 026).

           4.       While he worked outside shelling and transporting corn and working on

equipment for the first part of his employment, in 1991 Plaintiff started working in the



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    Hereinafter referred to as “Emoral” and the two names are to be used interchangeably.



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mixing/blending room to help American Popcorn set up its microwave popcorn production. (See

Emoral’s Appendix at 059-060).

       5.      During his work in the mixing room, Marlin Herbst had to sit on a stand and hold

a sieve over the heated 500 gallon vats to strain the lumps of the heated oil mix (See Emoral’s

Appendix at 059-060).

       6.      He did this for nine hour shifts per day for several days at which point Plaintiff

experienced blindness and had to leave work. (See Emoral’s Appendix at 059-060).

       7.      The blindness resolved and he returned back to work to his job shelling and

transporting corn. (See Emoral’s Appendix at 059-060).

       8.      From 1991-1993, Plaintiff would regularly go into the production area to work on

the compressed air lines a couple times a week for the next couple of years. (See Emoral’s

Appendix at 059-060).

       9.      In addition, Plaintiff would regularly go to quality assurance on a monthly basis

from 1991 through 1993. (See Emoral’s Appendix at 059-060).

       10.     During his employment at American Popcorn, Marlin Herbst thought he was

making food and that it was safe (Exh. 2, App. 0012, Affidavit of Marlin at ¶2).

       11.     During his employment at American Popcorn, Marlin Herbst was exposed to

diacetyl-containing butter flavorings (Exh. 3, App. 0026-0047 Declaration of Dr. Charles Pue,

with accompanying reports).

       12.     Plaintiff Marlin Herbst had no knowledge of the hazards surrounding diacetyl

(See Exh. 2, App. 0012, Affidavit of Marlin at ¶6).

       13.     Plaintiff Marlin Herbst has been diagnosed with bronchiolitis obliterans as a result

of his exposures to diacetyl-containing flavorings while employed at the American Popcorn plant



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(Exh. 2, App. 0012-0013, Affidavit of Marlin at ¶7; See Exh. 3, App. 0026-0047 Declaration of

Dr. Charles Pue, with accompanying reports.

                  American Popcorn and Marlin Herbst Were Left In The Dark

        14.       American Popcorn tried to do everything it could to make sure it was aware of

information to protect its employees (Exh. 5, App. 0058, 3/19/08 Deposition of Greg Hoffman,

p. 79:15-19).

        15.       At no point during Plaintiff’s employment did American Popcorn think that they

were making a food product that could hurt people (Exh. 1, App. 0006-0007, 12/1/05 Deposition

of Dale Hartshorn, pp. pp. 154:14-155:4).

                  Q.     And American Popcorn makes microwave popcorn as one of its
                         primary products?

                  A.     Yes.

                  Q.     Has there been any particular point in time in your career at
                         American Popcorn that you thought you were manufacturing a
                         food product that could hurt people?

                  A.     No.

        16.       American Popcorn had “no clue” diacetyl could cause lung disease in its workers,

like Plaintiff:

                  Q.     You said several times today that you've heard of diacetyl. During
                         the period of the '90s, were you aware that diacetyl could cause
                         serious lung injury to people that worked --
                                        ---
                  Q.     (By Mr. Crick) -- at your place of employment?
                                 ---
                  A.     No clue, no.

(Exh. 1, App. 0006-0007, 12/1/05 Deposition of Dale Hartshorn, pp. 154:19-155:4).




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       17.    American Popcorn thought it was doing all of the “proper things that [it] needed

to do to keep the building in a good, safe, usable fashion” (Exh. 6, App. 0064, 11/30/05

Deposition of Greg Hoffman at, p. 213:19-22).

       18.    Plaintiff Marlin Herbst had no knowledge of the hazards surrounding the diacetyl

sold by Emoral (Exh. 2, App. 0012-0013, Affidavit of Marlin Herbst at ¶¶1-7).

  Emoral Was a Member of the Flavor and Extract Manufacturers Association and Had
              Access to its Flavor Or Fragrance Ingredient Data Sheets

       19.    Prior to the time Marlin Herbst was employed at the American Popcorn plant and

exposed to Emoral’s diacetyl, Emoral was a member of the Flavors & Extract Manufacturers

Association (FEMA) and the Research Institute for Fragrances (RIFM), flavoring industry

associations for manufacturers (Exh. 7, App. 0068-0069, Pierre Bruell Deposition dated 2/13/08

at pp. 24:19-25:19; 25:23-26:5; Exh. 8, App. 0071-0072, Polarome’s discovery responses in

Walker v. Givaudan Flavors Corp., Interrogatory number 11).

       20.    FEMA published for its members Flavor or Fragrance Ingredient Data Sheets

(FFIDS) which contained health hazard information concerning chemicals which may be used by

its members (Exh. 9, App. 0077-0082, 1985 FFIDS).

       21.    As a member of FEMA and RIFM, Emoral had full access to the library of

FFIDS, including its 1985 FFIDS for diacetyl (Exh. 7, App. 0068-0069, Pierre Bruell Deposition

dated 2/13/08 at pp. 24-26; Exh. 10, App. 0102, William Leder deposition dated 5/31/07 at p.

154:14-155:6; Exh. 11, App. 0116, William Leder deposition dated 2/13/08 at p. 54:25-55:23).

       22.    In 1985, FEMA published a FFIDS for diacetyl which stated that inhalation of

diacetyl was Aharmful@ and Acapable of producing systemic toxicity.@ (Exh. 9, App. 0079, 1985

FFIDS; Exh. 11, App. 0116, William Leder deposition 2/13/08, p. 54:24-56:15).




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       23.     Emoral had access to health hazard information published by FEMA for its

members, including access to the FFIDS for diacetyl and admitted its reliance on the health

hazard classification (Exh. 7, App. 0068-0069 Pierre Bruell deposition, dated 2/13/08, p. 24-26;

Exh. 11, App. 0116, William Leder deposition 2/13/08, p. 54:24-56:15; Exh. 10, App. 0089,

William Leder deposition, dated 5/31/07, at p. 34:9-35:7; Exh. 12, App. 0129-0130, John

Hallagan deposition, dated 6/25/08, pp. 22:22-25:10) (confirming FEMA provided the FFIDS for

diacetyl in 1985 to flavor manufacturers for use in their formulation of material safety data

sheets).

       24.     Despite having the information found on the 1985 FFIDS for diacetyl, Emoral

chose to not include it in its Material Safety Data Sheets for diacetyl:

       Q.      And let me show you what I've marked as Exhibit 21. (Above-mentioned
               document is marked as Exhibit 21 for Identification.)

       Q.      It's a fax from the RIFM to Glen Roberts. You know Glen Roberts is with
               FEMA?

       A.      Yes.

       Q.      It's dated October 5, '01 that says, "The first FFIDS I am sending you was
               published in volume 2, 1985. This FFIDS has not been updated. The
               second FFIDS I am sending you was generated from that information from
               the diacetyl material of the database." Do you see the next page, there's a
               flavor or fragrance ingredient data sheet for the chemical diacetyl?

       Q.      Do you see that?

       A.      Yes.

       Q.      I just have a couple of questions about this. On page 2 of this FFIDS,
               there's a section called, "Human health affects data, number 1, known
               effects of acute exposure toxicological and pathological data." Do you see
               that?

       A.      Yes.




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       Q.      There's a section called, "Inhalation," that says, "Harmful, sore throat,
               coughing, may be absorbed. High concentrations may cause irritation of
               respiratory tract. Capable of producing systemic toxicity." Do you see
               that?

       A.      I read it.

       Q.      Now, the material safety data sheets we just went through, Exhibit 6
               through 14, all of the ones before 2000, none of them contained the words
               describing diacetyl as being harmful or capable of producing systemic
               toxicity, did they?

       A.      None of them contained the statement capable of producing systemic
               toxicity.

       Q.      And none of them say that it was harmful; is that right?

       A.      I'd have to reread them. If I may, I'll reread them. I don't remember the
               word "harmful".

       Q.      I would like you to look at that, 6 through 14. (Witness reviewing.)

       A.      I don't see the word "harmful" yet in any of these MSDS's.

(Exh. 11, App. 0116-0117, William Leder deposition, dated 2/13/08, at pp. 55:4-57:9; Exh. 13,

App. 0133-0140, MSDS’s attached to Leder Deposition).

       25.     Plaintiff did not know that diacetyl was “harmful” and “capable of producing

systemic toxicity” and did not know that Emoral knew this information by 1985 (Exh. 9, App.

0079, 1985 FFIDS; Exh. 2, App. 0012-0013, Affidavit of Marlin Herbst at ¶¶ 1-7).

        Emoral Was Named As A Defendant In The International Bakers Lawsuits

       26.     In 1985, the National Institute for Occupational Health and Safety investigated

cases of severe lung disease clinically consistent with bronchiolitis obliterans at a bakery plant in

Indiana called International Bakers Services. NIOSH issued a report of its findings (Exh. 15,

App. 0144-0184, NIOSH Report on International Bakers).




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       27.     A year later, Emoral was named as party defendants in two lawsuits filed in

Indiana by the two gentlemen who developed severe lung disease, consistent with bronchiolitis

obliterans, at the plant: Spaulding v. AAPER, et al., Circuit Court of Marshall County, Indiana,

Case No. CTC 86-117, filed April 15, 1986 and Kois v. Aceto Chemical Co., et al., Circuit Court

of Marshall County, Indiana, Case No. CTC 86-200 (Exh. 16, App. 0185-0190, Kois Complaint;

and Exh. 17, App. 0191-0196, Spaulding Complaint).

       28.     Kois and Spaulding were workers at the International Bakers Services plant in

Indiana, a plant that used flavor ingredients supplied by, among others, Emoral (Exh. 16, App.

0185-0190, Kois Complaint; and Exh. 17, App. 0191-0196, Spaulding Complaint; Exh. 18, App.

0198-0200, citing App. 0204, Daum affidavit, attached citing internal "Exhibit B"; Exh. 19, App.

0207-0217, Plaintiff’s Answers to Interrogatories at interrogatories 71-79; see also Exh. 55, App.

0484-0496, citing App. 0489, 0491 Affidavits of International Bakers experts, Jay Young, Jordan

Fink and Peter Proctor, citing internal “Exhibit B”).

       29.     Both Kois and Spaulding developed permanent lung injuries, consistent with

bronchiolitis obliterans, which they alleged was caused by exposure to flavor chemicals (Exh.

16, App. 0185-0190, Kois Complaint; and Exh. 17, App. 0191-0196, Spaulding Complaint; Exh.

18, App. 0198-0200, citing App. 0204, Daum affidavit, attached citing internal "Exhibit B"; see

also Exh. 55, App. 0484-0496, citing App. 0489, 0491 Affidavits of International Bakers experts,

Jay Young, Jordan Fink and Peter Proctor, citing internal “Exhibit B”).

       30.     Diacetyl was one of the products at issue (See Exh. 18, App. 0198-0200, citing

App. 0204, Daum affidavit, attached citing internal "Exhibit B"; Exh. 19, App. 0207-0217,

Plaintiff’s Answers to Interrogatories at interrogatories 71-79; see also Exh. 55, App. 0484-0496,




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citing App. 0489, 0491 Affidavits of International Bakers experts, Jay Young, Jordan Fink and

Peter Proctor, citing internal “Exhibit B”).

       31.      Emoral was specifically identified and named as a defendant in Spaulding and

Kois because of its sale of diacetyl (Exh. 16, App. 0185-0190, Kois Complaint; and Exh. 17,

App. 0191-0196, Spaulding Complaint; Exh. 18, App. 0198-0200, citing App. 0204, Daum

affidavit, attached citing internal "Exhibit B"; Exh. 19, App. 0207-0217, Plaintiff’s Answers to

Interrogatories at interrogatories 71-79; see also Exh. 55, App. 0484-0496, citing App. 0489,

0491 Affidavits of International Bakers experts, Jay Young, Jordan Fink and Peter Proctor, citing

internal “Exhibit B”).

       32.      Emoral was properly served and participated in the case through its retained

counsel (See Exh. 20, App. 0218-0235, pretrial-submissions in Spaulding.)

       33.      In those same lawsuits, Emoral received the affidavit of Plaintiff's medical expert,

Dr. Susan Daum, an occupational medicine specialist from Mt. Sinai Medical Center, New York

and other experts (See Exh. 18, App. 0198-0200, Daum affidavit, citing App. 0204, attached

citing internal "Exhibit B"; see also Exh. 55, App. 0484-0496, citing App. 0489, 0491 Affidavits

of International Bakers experts, Jay Young, Jordan Fink and Peter Proctor, citing internal

“Exhibit B”).

       34.      In her affidavit, Dr. Daum explicitly stated that:

                a.       At the time the defendants supplied the chemicals listed in Exhibit
                         "B" [which includes diacetyl], to International Bakers Services,
                         Inc. There was a chemical industry standard on behalf of a supplier
                         (manufacturer, formulator, repackager and/or transshipper) to warn
                         of a product's foreseeable dangers and the precautionary measures
                         to be taken to avoid or minimize harm if exposed. Further, this
                         duty of the supplier to provide reasonable warnings includes
                         creating a new warning, if appropriate, and the supplier cannot rely
                         on the warning of a manufacturer without taking reasonable steps
                         to determine that the manufacturer's warning is adequate. In other

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                     works, a supplier may not simply send on the warning, if any, of
                     the manufacturer to the ultimate consumer without determining
                     that the warning is reasonable.

              b.     It was reasonably foreseeable by the defendants as suppliers of the
                     products listed in Exhibit "B" [which includes diacetyl] that these
                     chemicals would be mixed by employees (Blenders) of
                     International Bakers Services, Inc. or any other manufacturer in the
                     food flavor industry, with other chemicals from other suppliers
                     among which there would be other respiratory irritants and dust.

              c.     It was reasonably foreseeable by the defendants that the plaintiff,
                     as an employee of International Bakers Services, Inc. Was one of
                     the persons who might be expected to use the chemicals listed on
                     Exhibit "B" [which includes diacetyl].

              d.     It was reasonably foreseeable by the defendants that the plaintiff,
                     as an employee of International Bakers Services, Inc. might be
                     expected to use the chemicals listed in Exhibit "B" [which
                     includes diacetyl] as he did use them.

              e.     It was reasonably foreseeable by the defendants that each of these
                     chemicals could cause inhalation injury, and it was reasonably
                     foreseeable by the defendants that the chemicals they supplied
                     would be combined with other similar products. The inhalation of
                     each of the chemicals listed in Exhibit "B" [which includes
                     diacetyl] was a concurrent cause of Daniel J. Kois' lung injuries.
                     Daniel J. Kois has permanent chronic Obstructive Pulmonary
                     Disease.

              f.     The fact that the defendants supplied chemicals to
                     International Bakers Services, Inc. as ultimate users and
                     consumers without having first tested these chemicals for
                     inhalation or taken other appropriate measures to see that they
                     were safe for use by humans is tantamount to using the
                     Blenders at International Bakers Services, Inc. as "Blue Collar
                     Guinea Pigs".

(See Exh. 18, App. 0199-0200, citing App. 0204, Daum affidavit, attached citing internal

"Exhibit B")(emphasis added).

       35.    Emoral also deposed Dr. Daum in the Kois and Spaulding cases (Exh. 21-22,

App. 0236-0248; App. 0249-0258, Daum depositions).



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       36.     Emoral did not investigate the truth of the information found in the International

Bakers lawsuits before selling diacetyl:

       Q.      And after March 29th of 1989, the date of this affidavit, did you authorize or are
               you aware of the company authorizing any testing on any of the chemicals that
               Polarome sold to International Bakers to see if they could cause inhalation injury?

       A.      I don't recall doing anything like that, no.

       Q.      And you left Polarome in the year 2000, right?

       A.      Yes, sir.

       Q.      That would be about 11 years after Dr. Daum's affidavit?

       A.      Yes, sir.

       Q.      In that 11-year period of time do you recall any testing or investigation to
               determine if any of the chemicals that Polarome was selling could cause
               inhalation injury?

       A.      Repeat the question, please.

               MR. CRICK: Could you read it back, please? (Record read.)

               THE WITNESS: The way I understand the question the answer would be, no, I'm
               not aware.

(Exh. 23, App. 0264, David Herbst Deposition dated 2/21/08 at pp. 66:16-67:21).

       37.     Emoral identified experts in the International Bakers lawsuits (See Exh. 20, App.

0218-0235, pretrial-submissions in Spaulding) but did not use those experts or similar experts in

their regular course of business (Exh. 10, App. 0100-0101, William Leder deposition, dated

5/31/07 at p. 135:15-139:18; Exh. 11, App. 0114-0116, William Leder deposition dated 2/13/08,

p. 47:16-54:21; Exh. 24, App. 0277-0279, App. 0280-0281, Bernard Turret deposition, dated

2/14/08, at pp. 27:15-29:17; 33:10-34:3).




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       38.    Mr. Leder, who was in charge of developing Emoral’s MSDSs, was not given the

money to hire consultants to perform inhalation tests (Exh. 10, App. 0101, William Leder

deposition dated 5/31/07, p. 138:8-139:18).

       39.    Emoral did not disclose the International Bakers’ lawsuits to William Leder, who

was in charge of developing Emoral’s MSDSs (Exh. 11, App. 0112-0113, William Leder

deposition dated 2/13/08, at pp. 36:22-37:8; Exh. 10, App. 0097-0099; William Leder deposition

dated 5/31/07, p. 119:2-10; 121:19-122:7; 127:9-16).

       40.    No one from Emoral told its customer FONA, who sold butter flavorings to

American Popcorn, about the International Bakers investigation or subsequent lawsuits alleging

respiratory disease from exposure to diacetyl (Exh. 25, App. 0288, Leslie Fisher Deposition,

dated May 9, 2007, at 90:19-91:3).

   Emoral Failed To Pass On Health Hazard Warnings Given To It By Its Own Diacetyl
                               Supplier, Gist-Brocades

       41.    Emoral bought its diacetyl from Gist-Brocades (Exh. 10, App. 0087, deposition of

William Leder, dated 5/31/07, at 25:5-17).

       42.    The July 1992 Gist-Brocades MSDS for diacetyl said “If risk of inhalation may

occur, respiratory protective equipment should be selected and used in accordance with

OSHA/NIOSH guidelines” (Exh 10, App. 0103-0104, deposition of William Leder, dated

5/31/07, at 160:19-161:162:2; Exh. 26, App. 0292, Gist-Brocades MSDS).

       43.    The July 1992 Gist-Brocades MSDS for diacetyl said “Unpleasant odor, may

cause discomfort. Avoid use in open systems or the creation of aerosols” (Exh 10, App. 0103-

0104, deposition of William Leder, dated 5/31/07, at 158:24-161:20; Exh. 26, App. 0291, Gist-

Brocades MSDS).




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       44.     The July 1992 Gist-Brocades MSDS for diacetyl said “Recommend well

ventilated work environment. Local exhaust as needed to prevent aerosol generation” (Exh 10,

App. 0104, deposition of William Leder, dated 5/31/07, at 162:3-162:9; Exh. 26, App. 0292,

Gist-Brocades MSDS).

       45.     Emoral did not provide its customers, such as Givaudan, with the Gist-Brocades

MSDS. Instead, Emoral created its own MSDS for diacetyl, and omitted the warnings to use a

respirator; utilize a well-ventilated work environment; and avoid use in open systems (Id.; see

also Exhibit 11, App. 0117-0118, deposition of William Leder, dated 2/13/08, at 60:17-61:21;

Exh. 10, App. 0103-0104, William Leder, dated 5/31/07, at 158:24-163:7; Exh. 23, App. 0262-

0263, David Herbst Deposition, dated 2/21/08, at pp. 46:24-50:15; Exh. 26, App. 0291-0292,

Gist-Brocades MSDS; cf. Exh. 13, App. 0133-0140, Polarome MSDS’s).

Despite Its Knowledge of the Hazards of Diacetyl, Emoral Never Studied Diacetyl or Tested
                              the Health Hazards of Diacetyl

       46.     William Leder, the person in charge of developing Emoral’s MSDSs had no

training or experience in regulatory affairs or preparing material safety data sheets prior to his

employment at Emoral (Exh. 10, App. 0085, William Leder deposition, dated 5/31/07, at pp.

13:5-16:20).

       47.     Mr. Leder additionally had no formal training in industrial hygiene (Exh. 10, App.

0090, William Leder deposition, dated 5/31/07, at pp. 40:6-9).

       48.     The only training Mr. Leder received regarding the preparation of material safety

data sheets was part of Emoral’s OSHA training seminars (Exh. 10, App. 0086, William Leder

deposition, dated 5/31/07, at p. 21:25-23:7).

       49.     Despite his lack of experience, Emoral put Mr. Leder in charge of preparing

MSDSs for the company, including but not limited to preparing Emoral’s MSDSs for natural and

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synthetic diacetyl (Exh. 10, App. 0085-0086; 0088, William Leder deposition, dated 5/31/07, at

p. 13:5-16:20; 21:25-23:7; 30:18-31:3);

         50.   Emoral did not hire any outside consultants to help Mr. Leder prepare its MSDSs

(Exh. 11, App. 0111, William Leder deposition, dated 2/13/08, at p. 29:3-24, 31:13-19).

         51.   Despite the fact that Mr. Leder had no medical or toxicological experience or

training, he was the person who selected the health hazard rating for Emoral’s MSDS for diacetyl

(Exh. 10, App. 0091, William Leder deposition, dated 5/31/07, at p. 53:20-55:11).

         52.   Emoral did not hire an industrial hygienist to look over its MSDS’s (Exh. 11,

App. 0112, William Leder deposition, dated 2/13/08 at p. 34:11-15).

         53.   Emoral has never conducted or sponsored a test or study to relating to the

inhalation of diacetyl (Exh. 10, App. 0096, William Leder deposition, dated 5/31/07, at p. 99:3-

7; Exh. 11, App. 0110, William Leder deposition, dated 2/13/08 at pp. 27:24-28:17).

         54.   Emoral had no written protocol on how to prepare its MSDS (Exh. 10, App. 0089,

William Leder deposition, dated 5/31/07, at 36:13-17).

         55.   Instead, the protocol Mr. Leder used to prepare Emoral’s MSDS included

reviewing Emoral’s prior MSDSs, reading the supplier’s MSDSs; contacting the Research

Institute for Fragrance Materials (“RIFM”); and accessing the Flavor and Fragrance Information

Data Sheet (“FFIDS”) (Exh. 10, App. 0089, William Leder deposition, dated 5/31/07, at p. 34:9-

35:7).

                          Emoral’s Supply of Diacetyl to Givaudan

         56.   Relevant to Plaintiff’s exposures, Emoral supplied diacetyl to Givaudan Flavors

Corporation from 1991-1993 (Exh. 11, App. 0109, William Leder deposition, dated 2/13/08, at

13:5-14:13; Exh. 27, App. 0293-0304, diacetyl sales chart produced by Emoral).



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       57.      During the years at issue, 1991-1993, Givaudan supplied at least 101,710 lbs. of

Givaudan’s diacetyl-containing butter flavoring to American Popcorn as demonstrated below.

             Year             Flavoring              Quantity            Document

                         Natural Light Butter                          Amer PC 06959
             1991                                    2,380 lbs.
                           Flavor 202944                                 (App. 0306)
                                                                       Amer PC 06877
                          Light Butter Flavor                         (App. 0308); App.
             1992                                    20,000 lbs.
                                220108                                0316, Kuiper Trial
                                                                        Exhibit 2212
                                                                       Amer PC 06877
                            Butter Flavor                             (App. 0308); App.
             1992                                    15,000 lbs.
                              205103                                  0316, Kuiper Trial
                                                                        Exhibit 2212
                                                                       Amer PC 06872
                            Natural Butter                            (App. 0309); App.
             1992                                    4,000 lbs.
                               202942                                 0316, Kuiper Trial
                                                                        Exhibit 2212
                            Butter Flavor
             1993*                                   5,040 lbs.           App. 0323
                          WONF #220108
                            Butter Flavor
             1993*                                   14,850 lbs.          App. 0323
                          WONF #247027
                            Butter Flavor
             1993*                                   29,700 lbs.          App. 0323
                           WONF #24028
                           Butter Enhancer
             1993*                                   6,050 lbs.           App. 0323
                              #202942
             1993*        Popcorn #202943            4,690 lbs.           App. 0323


(Exh. 28, App. 0305-0316, Compilation of American Popcorn Invoices and Summary of Butter

Flavor Supply to American Popcorn, Sioux City Plant (cited above in table); Exh. 29, App. 0318;

0323, Givaudan Interrogatories in Kuiper at interrogatory no. 2; see also Exh. 30, App. 0324,

List of Sales from Givaudan; see also Exh. 52, App. 0463 Trial Testimony of Greg Hoffman p.

129:9-11) (confirming Givaudan was American Popcorn’s main supplier during Plaintiff’s

employment).

       58.      Givaudan did sell diacetyl-containing butter flavoring to American Popcorn in

1992 that was used in American Popcorn’s production of microwave popcorn. The evidence in
                                                14

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the case is that butter flavorings from Givaudan that were shipped to the New Horizon

warehouse in 1992 were then transported to Sioux City for use at the American Popcorn plant

(Exh. 52, App. 0463-0467, Trial Testimony of Greg Hoffman, pp. 129:9-130:7; 132:17-133:15;

See also Exh. 28, App. 0316, Kuiper Trial Exhibit 2212, admitted into evidence.

       59.    Givaudan’s butter flavoring that it sold to American Popcorn between 1991-1993

contained diacetyl (Exh. 51, Formulas, App. 0449-0458; see also Exh. 42, App. 0388, 8/28/18

Deposition of Doug West, at pp. 78:23-79:6).

       60.    Givaudan expert witness, Doug West, a flavorist at Givaudan confirmed that the

butter flavorings sold to American Popcorn during Plaintiff Herbst’s employment contained

diacetyl.

       Q:     So all these butter flavors that were sold to American Popcorn contained added
              diacetyl, correct?

       A:     Yes, yep.

       Q:     And, they all were sold with the intent of having a buttery taste and aroma and the
              buttery aroma that you smell is the diacetyl.

       A:     Yes.

(Exh. 42, App. 0388, 8/28/18 Deposition of Doug West, at pp. 78:23-79:6).

       61.    Givaudan specifically identified Emoral as a source of diacetyl “that went into the

products . . . that went to the American Popcorn plant” and produced a Polarome material safety

data sheet dated August 1, 1992 and a Kosher certification for diacetyl from Polarome dated

March 16, 1992 (Exh. 31, App. 0329-0331; App. 0336-0337, Givaudan’s response to Plaintiff’s

first interrogatories to Givaudan, number 7, with TM000004-5 attached referencing Polarome as

supplier).




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       62.    Givaudan produced an itemization of its diacetyl purchases for use in butter

flavoring to American Popcorn, identifying Emoral as supplying 58,006 lbs., or 58% of the

diacetyl Givaudan used in its butter flavorings sold to American Popcorn (Exh. 31, App. 0329-

0331; App. 0336-0337, Givaudan’s response to Plaintiff’s first interrogatories to Givaudan,

number 7; Exh. 32, App. 0338-0339, chart produced by Givaudan at GIV-MH00000002-3).

       63.    Emoral did not have any discussions with Givaudan regarding the health hazards

of diacetyl (Exh. 10, App. 0095, William Leder deposition, dated 5/31/07, at 89:8-18).

                            Emoral’s Supply of Diacetyl to FONA

       64.    Relevant to Plaintiff’s exposures, Emoral supplied diacetyl to FONA from at least

1991 until 1993 (Exh. 33, App. 0340-0346, diacetyl sales charts produced by Emoral at POL-

BARK/BAT 0270-0271 and POLAROME_SOLIS 02541-02546, marked as Exhibit 11 to Frank

Bruno deposition in Herbst; Exh. 34, App. 0350-0353, Frank Bruno deposition, dated 8/15/18, at

13:22-14:8; 15:14-17:20; 23:4-25:12).

       65.    In fact, starting in August 1992, Polarome was FONA’s exclusive diacetyl

supplier (Exh. 35, App. 0360, deposition of Terry Emmel, dated 5/8/07, at 119:10-13).

       66.    Between 1991 and 1993, FONA supplied 5,217 lbs. of Emoral’s diacetyl-

containing flavorings to the American Popcorn plant (Exh. 36, App. 0365-0367, chart showing

diacetyl sold by FONA to American Popcorn produced by FONA in Kuiper v. IFF, et al.; see

also Exh. 57, App. 0503-0507, FONA/American Popcorn Invoices).

       67.    FONA’s formula for “Natural Butter Flavor” number 816.300, that was supplied

to the American Popcorn plant during Marlin Herbst’s employment, specifically calls for the use

of “Diacetyl, Natural #23555 Polarome” (Exh. 37, App. 0368, FONA-KUIPER01717)




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(emphasis added); Exh. 36, App. 0366 chart showing diacetyl sold by FONA to American

Popcorn produced by FONA in Kuiper v. IFF, et al.).

       68.    FONA’s formula for “Natural for Popcorn” number 899.016, that was supplied to

the American Popcorn plant during Marlin Herbst’s employment, specifically calls for the use of

“Diacetyl, Natural #23555 Polarome” (Exh. 38, App. 0369, FONA-KUIPER01726) (emphasis

added); Exh. 36, App. 0365, chart showing diacetyl sold by FONA to American Popcorn

produced by FONA in Kuiper v. IFF, et al.).

       69.    FONA’s formula for “Natural for Popcorn” number 899.019, that was supplied to

the American Popcorn plant during Marlin Herbst’s employment, specifically calls for the use of

“Diacetyl, Natural #23555 Polarome” (Exh. 39, App. 0370, FONA-KUIPER01728) (emphasis

added); Exh. 36, App. 0365; App. 0367, chart showing diacetyl sold by FONA to American

Popcorn produced by FONA in Kuiper v. IFF, et al.).

      Plaintiff Marlin Herbst’s Testimony Regarding Exposures to Emoral’s Diacetyl

       70.    Plaintiff Marlin Herbst testified that he recalled seeing a yellow-orange haze

while working in the mixing room,

       Q.     You mentioned earlier a yellow orangish haze in the blending room –

       A.     Yes.

(Exh. 4, App. 0052, 4/12/18 Deposition of Marlin Herbst, p. 79:7-9).

       71.    Plaintiff testified that and he smelled butter throughout his employment inside the

American Popcorn plant (1991-1993),

       Q.     Do you remember, during the couple of days that you worked in the mixing room
              or the blending room, what type of flavorings you were using?

       A.     Well, there was the odor of butter real strong, and salt.

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       Q:      My question is: Those symptoms that we've talked about that you experienced in
               the blending room, was there any other areas of the plant, indoors or outdoors,
               where you experienced some of the same symptoms?

       A.      Well, there was a slight trace of it in the production area all the time because as
               these little microwave packets filled, that popping oil and coloring and flavoring
               and so forth was sprayed into those little packets, and there's always a little bit
               of mist and so forth escaping into the air; and in the lab and so forth, where the
               lab tech was popping samples all the time, it had a distinct buttery smell to it.

(Exh. 4, App. 0050; 0053, 4/12/18 Deposition of Marlin Herbst, pp. 59:4-9, 248:1-14).

       72.     Plaintiff Marlin Herbst testified that he knew the products he worked around

contained butter flavorings:

       Q:      Do you know which of those products contained butter flavors?

       A:      All of them.

(Exh. 4, App. 0051, 4/12/18 Deposition of Marlin Herbst, p. 74:7-9).

        NIOSH’s Findings of Diacetyl-Induced Lung Disease at American Popcorn

       73.     NIOSH came to the American Popcorn plant and conducted a Health Hazard

Evaluation to evaluate the risk for lung disease in American Popcorn workers exposed to butter

flavorings (Exh. 43, App. 0390-0394, NIOSH HHE-American Popcorn).

       74.     NIOSH measured the levels of diacetyl in the air at the American Popcorn plant in

2002, and measured the following diacetyl levels in the mixing room, "Area diacetyl air

concentrations in the mixing room were 0.57 parts per million (ppm) parts air by volume when

liquid and paste flavorings were in use on July 29...Mixers' exposure to diacetyl increased to 80

to 120 ppm for several minutes while pouring liquid butter flavoring into a tank" (Exh. 43, App.

0393, NIOSH HHE-American Popcorn, p. iv).

       75.     The NIOSH Health Hazard Evaluation (“HHE”) concluded “Air concentrations of

diacetyl, a butter flavoring chemical known to cause injury to airways in animal studies, were



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highest in the mixing room. . . Six of 13 workers with experience as mixers had abnormal lung

function” (Exh. 43, App. 0392, NIOSH HHE-American Popcorn, p. iii).

        76.    The NIOSH HHE concluded that “Some workers with mixing experience at the

American Pop Corn Company plant may have developed abnormal lung function due to brief,

intense exposures during mixing activities, such as those that occur when workers weigh and

measure flavorings, pour them manually into open tanks of heated soybean oil, and look into

tanks, especially if respiratory protection is not consistently and appropriately utilized. This risk

can be present even when ventilation maintains low average air concentrations of flavoring

chemicals" (Exh. 43, App. 0395, NIOSH HHE-American Popcorn, p. 9).

        77.    After Mr. Herbst’s employment and prior to NIOSH coming to the American

Popcorn plant, American Popcorn installed additional air conditioning on the production floor

(Exh. 6, App. 0063, 11/30/05 Deposition of Greg Hoffman, p. 52:14-18).

        78.    Subsequent to American Popcorn adding more air condition on the production

floor, NIOSH measured the levels of diacetyl in the production area and even with the air

conditioning found levels of diacetyl of 6 ppb mean and 30 ppb max at the Bartel machine 2 ppb

mean and 4 ppb max were identified in production (Exh. 43, App. 0397, NIOSH HHE-American

Popcorn, p. 14).

        79.    Air samples from the American Popcorn Loss Prevention report from April 7,

2004, demonstrate levels of 6.9 ppb in the production area (Exh. 44, App. 399 American Popcorn

Loss Prevention Report, p. 3).

        80.    The Jasper, Missouri Gilster Mary Lee HHE identified the Quality Control area as

a high risk,

        In more complex analyses performed since our interim report in August, we found an
        additional high risk work area in the plant - quality control. As you may recall, we had

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          originally classified this area (before data analyses) as an intermediate exposure area. We
          questioned that classification when we saw that the average diacetyl exposure levels for
          quality control in November 2000 were closer to those in microwave packaging than
          warehouse measurements. In looking at workers in this area as a group, we found that 5
          of 6 had airways obstruction. Those with obstruction were 37 times more likely to work
          in quality control than those without airways obstruction (when controlled for cigarette
          smoking and age).

(Exh. 45, App. 0402, February 27, 2002 Interim Letter Report at p. 2).

          81.    NIOSH reported that QC workers were a high risk population and were

“repeatedly exposed for several-second to several-minute intervals of elevated organic vapor

concentrations by work processes throughout the shift. Additionally, we observed that the

increased heat from microwaving the popcorn and flavoring ingredients created a profile of

volatile organic compounds different from other plant areas" (Exh. 46, App. 0410, December 13,

2002 Gilster Mary Lee Interim Letter Report, p. 2).

          82.    Lung abnormalities among quality control workers and diacetyl levels above the

REL were also noted at the Conagra Marion, Ohio and Agrilink plants (Exh 47, App. 0431,

NIOSH HHE- Conagra Marion, Ohio at p. iv; Exh. 48, App. 0436, NIOSH HHE Agrilink at p.

iv).

          83.    The NIOSH Criteria for a Recommended Standard, Occupational Exposure to

Diacetyl and 2, 3 Pentanedione recommends a REL of 5 ppb for diacetyl as a time weighted

average (TWA) for up to 8/hours per day during a 40 hour work week (Exh. 49, App. 0440,

NIOSH Criteria, p. vii).

          84.    Dr. Pue has opined in this case that “…based on the NIOSH reported levels of

diacetyl in the mixing room, the short term acute exposure to diacetyl that Mr. Herbst

experienced in the mixing room in 1991 was at levels far exceeding the REL and was high

enough to cause the FRBOS. The same is true of Mr. Herbst’s exposures in production. In



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addition to his other documented exposures, which were sufficient in and of themselves to cause

his FRBOS, it is my opinion to reasonable degree of medical certainty that Mr. Herbst’s QC

exposures increased and worsened the permanency of his disease” (Exh. 3, App. 0045,

Declaration of Dr. Charles Pue, with accompanying reports).

       85.     In 2004, Emoral changed its material safety data sheet for diacetyl to state that

“Prolonged exposure to high concentrations may cause lung disease (bronchiolitis obliterans).

(Exh. 50, App. 0446, Polarome November 30, 2004 MSDS; see also Exh. 34, App. 0354,

August 16, 2018 Deposition of Frank Bruno, pp. 29:18-31:22, confirming that Polarome stated

this because it was required to truthful in the statements of its hazards of the chemicals).

       Emoral Did Not Warn Its Customers About What it Knew Regarding the Health
                        Hazards Caused by Exposure to Diacetyl

       86.     Emoral would occasionally modify the container that the diacetyl was in, and

would occasionally repackage the diacetyl into a new container altogether (Exh. 23, App. 0265-

0266, David Herbst Deposition, dated 2/21/08, at 96:24-97:11).

       87.     The containers of diacetyl Emoral sold to its customers bore labels with

information and anti-warnings created by Emoral (Exh. 40, App. 0372, Emoral’s 2nd

Supplemental Responses to Plaintiff’s Discovery Requests, Response to Request for Production

number 13).

       88.     While Emoral provided its own labels on the containers, those labels did not say

that exposure to diacetyl could cause bronchiolitis obliterans, nor did Emoral’s labels say that

exposure to diacetyl could cause permanent lung injury (Exh. 41, App. 0380-0381, Craig

Luebeck deposition, dated 4/21/10, at 56:5-57:6).




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       89.     Emoral did not include any reference on the labels it put on its diacetyl to the

health hazards associated with the inhalation of diacetyl vapors or the need for respiratory

protection (Exh. 10, App. 0093, deposition of William Leder, dated 5/31/07, at 77:7-16).

       90.     The health hazard risk that Emoral put on its label for diacetyl indicated that it

was a low health hazard (Exh. 10, App. 0092, deposition of William Leder, dated 5/31/07, at

76:15-19).

       91.     Emoral left words out of its warnings. Emoral was told that diacetyl was toxic, a

word which has a precise definition at but chose not to use that word in its MSDS (Exh. 23, App.

0262, David Herbst Deposition, dated 2/21/08, at pp 45:7-46:5; compared to Exh. 9, App. 0079,

1985 FFIDS).

       92.     Emoral had its own procedures to protect its workers but did not tell its customers

to use any such safety procedures (See Exh. 11, App. 0118, William Leder deposition, dated

2/13/08, at p. 61:22-62:19):

               Q.    When Polarome packaged diacetyl at its plant in New Jersey, you
               packaged it in your production room; is that right?

               A.     Production or packaging room, same place.

               Q.      And the production room at Polarome was an isolated area with a
               significant number of air changes per hour, correct?

               A.     Yes.

               Q.       In that room, the air comes in through in one pass, it's blown in and
               it's sucked out and it's never recycled?

               A.     Correct.

               Q       You attempted to keep your vapor concentrations of anything in
               that room at a very minimal level; is that right?

               A.     Correct.



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               Q.     Did you describe this air system that you used at Polarome in your
               material safety data sheets for diacetyl?

               MR. McGRATH: Objection, form, overbroad, vague.

               A.      I did not.

       93.     Even after Marlin Herbst worked at American Popcorn—Emoral was warning

European customers its product was “Harmful by inhalation” but telling American customers,

including Givaudan and FONA only that diacetyl “May Cause Respiratory Irritation” (See Exh.

11, App. 0116-0117, William Leder deposition, dated 02/13/08, at pp. 55:24-57:20).

       94.     When Emoral purchased diacetyl from its suppliers to sell to customers, Emoral

would typically create and provide its own material safety data sheet to provide to its customer

with the diacetyl (Exh. 23, App. 0263, David Herbst deposition, dated 2/21/08, at 52:13-21).

       95.     Emoral had no information or any reason to think that prior to 2000 its American

Popcorn-supplying customer Givaudan/Tastemaker would have had any information to know

that inhalation of diacetyl vapors could cause lung disease (Exh. 10, App. 0094, William Leder

deposition, dated 5/31/07, at 87:12-88:4).

       96.     Givaudan relied on its ingredient suppliers, such as Emoral, to provide health

hazard information associated with its products (Exh. 42, App. 0387, Doug West deposition,

dated 8/28/18, at 53:21-54:7; 54:25-55:4; see also Exh. 58, App. 0508-0523, Givaudan MSDSs

that stated inhalation may be “irritating” and did not require a respirator).

       97.     Similarly, FONA developed its own material safety data sheets based on the

information provided to it from its suppliers such as Emoral (Exh. 35, App. 0361, Terry Emmel

deposition, dated May 8, 2007, at 141:18-141:24).




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       98.     American Popcorn would not have risked employees’ health working around

butter flavors if it had known the dangers. (Exh. 52, App. 0463(a), 3/3/09 Trial Transcript of

Greg Hoffman in Kuiper v. IFF, Inc., et al., p. 128:19-21).

       99.     Plaintiff Marlin Herbst also relied upon Emoral’s misrepresentations to its

customers like Givaudan and Emoral to his prejudice (Exh. 2, App. 0012-0013. Affidavit of

Marlin Herbst at ¶1-7).

       100.    Plaintiff Marlin Herbst would have taken steps to protect himself if Emoral had

properly warned Givaudan and FONA that it knew that diacetyl was “harmful” and “capable of

producing systemic toxicity” and that respirator use was mandatory in the presence of diacetyl

(Exh. 2, App. 0012, Affidavit of Marlin Herbst at ¶ 3-6).




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                                Respectfully submitted,

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                              CERTIFICATE OF SERVICE

        I hereby certify that on this 7th day of December, 2018, I electronically filed the
foregoing with the Court using the Court’s CM/ECF system which sends notification of same to
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